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                   UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DONALD CLARK WRIGHT, III,           )
                                    )
       Plaintiff                    )
                                    )
VS.                                 )
                                                      1:21-CV-5197 MHC
                                    )Civil Acton No.:_________________
BRANDON WARREN and                  )
VICTOR HILL, in THEIR               )
INDIVIDUAL and OFFICIAL             )
CAPACITIES                          )
                                    )
       Defendants                   )

                                  COMPLAINT

       COMES NOW Plaintiff Donald Clark Wright, III, by and through

his attorneys, and file this Complaint against defendants Victor

Hill    and   Brandon   Warren,    in    their   individual   and   official

capacities,     collectively,     “Defendants”).     In   support   thereof,

Plaintiffs respectfully state as follows:

                          PRELIMINARY STATEMENT

                                        1.

       This is an action by Plaintiff asserting claims for violation

of his civil rights under 42 U.S.C. § 1983, violation of the

Georgia Constitution, and pendent Georgia state law claims.
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                                   PARTIES

                                Plaintiff

                                     2.

      Plaintiff Donald Clarke Wright, III is resident of Butts

County, Georgia.

                               Defendants

                                     3.

      Defendant Victor Hill is the elected Sheriff of Clayton County

and, upon information and belief, is a resident of Clayton County,

Georgia. As Sheriff, Defendant Hill is directly responsible for

the daily management, administration, and operation of the Clayton

County Sheriff’s Office at all times relevant to this Complaint.

In   Defendant’s   capacity   as   Sheriff,   he   has   caused,   created,

participated in, authorized, condoned, ratified, approved, and/or

knowingly acquiesced in the customs or policies that led to the

constitutional violations that are the subject of this case.

Sheriff Hill is sued in his official and individual capacities.

                                     4.

      At all times relevant to this complaint, Defendant Brandon

Warren was a deputy sheriff of Clayton County and, upon information

and belief, is a resident of Gwinnett County, Georgia. In Defendant

Warren’s capacity as a deputy, he has caused, created, participated

in, authorized, condoned, ratified, approved, and/or knowingly

acquiesced in the constitutional violations as described in this
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Complaint. Defendant Warren is sued in his official and individual

capacities.

                          JURISDICTION AND VENUE

                                       5.

      This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1343 because the action arises

under and is brought under the Civil Rights Act of 1871, 42 U.S.C.

§   1983   and   the    Fourteenth     Amendment   to   the   United   States

Constitution.     The    Court   has    supplemental    jurisdiction    over

Plaintiffs’ state law claims under 28 U.S.C. § 1367 because they

are so related to the federal claims that they form part of the

same case or controversy under Article III of the United States

Constitution.

                                       6.

     Venue is proper in this District under 28 U.S.C. § 1391(b)(1)

because at least one Defendant resides in this judicial district.

This District also is an appropriate venue for this action under

28 U.S.C. § 1391(b)(2) because all or at least a substantial part

of the events or omissions giving rise to the claims asserted

herein occurred in this judicial district.

                            FACTUAL BACKGROUND

                                       7.

     On December 24, 2019, Plaintiff Wright was driving a vehicle

being pursued by Clayton County Sheriff’s deputy Brandon Warren.
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                                   8.

     Brandon Warren was acting within the course and scope of his

employment by the Clayton County Sheriff’s department.

                                   9.

     Plaintiff Wright’s vehicle became disabled after striking a

sign at or near 5320 Phillips Road in Clayton County, Georgia.

                                  10.

     Plaintiff Wright did not have a gun or any other weapon in

his possession.

                                  11.

     Defendant Warren’s vehicle arrived near Plaintiff Wright’s

vehicle, parking in a position behind Defendant Wright’s vehicle.

                                  12.

     Plaintiff Wright exited his vehicle and ran away from his

vehicle and Defendant Warren.

                                  13.

     Plaintiff Wright did not make any movements or noises or take

any action upon exiting his vehicle to cause Defendant Warren to

fear for his safety or the safety of others.
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                                  14.

     Plaintiff Wright turned his back to Defendant Warren and ran

away from Defendant Warren.

                                  15.

     Defendant Warren pulled his weapon and fired multiple shots

at Plaintiff Wright as Plaintiff Wright fled from Defendant Warren.

                                  16.

      Plaintiff Wright was wounded by a bullet which first struck

him from behind in the buttock, subsequently struck his testicle,

and then exited through his scrotum.

                                  17.

     Defendant Warren claims Plaintiff Wright was holding a gun.

                                  18.

     Plaintiff Wright was captured in a nearby neighborhood by a

host of law enforcement officers.       Plaintiff Wright did not have

a weapon of any type or description in his possession when he was

arrested.

                                  19.

     No weapon was recovered from the scene of this shooting.
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                                  20.

     Upon   information   and   belief,   the   GBI   investigated     this

shooting.

                                  21.

     The GBI investigation did not discover or recover a firearm

or any other weapon at the scene.

                                  22.

     Plaintiff was severely injured as a result of this shooting.

                                  23.

     Defendant Warren’s actions in using deadly force against

Plaintiff Wright, who did not possess a weapon and who did not

pose an imminent threat of serious bodily injury to Defendant

Warren or any other person, were unlawful.

                                  24.

     Defendant Warren knew, or a reasonable officer in his position

should have known, that using deadly force in this situation

violated clearly established law.

                                  25.

     Defendant   Warren’s   violation     of   clearly   established   law

caused severe injuries to Plaintiff.
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                                     26.

     Defendant Victor Hill, in his official capacity as the elected

Sheriff of Clayton County, has a policy or custom of using or

encouraging excessive force, including the use of excessive force

against people such as Plaintiff.

                                     27.

     Defendant Victor Hill is currently under indictment and faces

federal   criminal   charges   for     routinely   using   excessive   and

unreasonable force against people in his custody.

                                     28.

     Defendant Hill, failed to adequately train his officers and

deputies, including Defendant Warren.

                                     29.

     Defendant Hill’s policy or custom, and his failure to train,

were the moving force behind the violation of Plaintiff Wright’s

rights in this case.
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                          CLAIMS FOR RELIEF

               VIOLATION OF PLAINTIFFS CIVIL RIGHTS

                       UNDER 42 U.S.C. § 1983

                                  30.

     Plaintiff incorporates herein and re-alleges, as if fully set

forth herein, the allegations of the preceding paragraphs.

                                  31.

     Defendants have violated Plaintiff’s right to be free from

unreasonable searches and seizures, in violation of the Fourth and

Fourteenth Amendment to the Constitution of the United States, as

applied to the states and enforced through 42 U.S.C. § 1983.

     VIOLATION OF PLAINTIFF’S CIVIL RIGHTS UNDER THE GEORGIA

                             CONSTITUTION

                                  32.

     Defendants have violated Plaintiff’s right to be free from

unreasonable searches and seizures, in violation of Article 1,

Section 1, Paragraph XIII of the Georgia Constitution.

                                  33.

     Defendants have violated Plaintiff’s right to not be abused

while being arrested or while under arrest under Article 1, Section

1, Paragraph XVII of the Georgia Constitution.
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                        VIOLATION OF STATE LAW

                                  34.

     Defendant Warren’s actions amount to a battery under Georgia

state law.

                          PRAYER FOR RELIEF

     Defendants’ violations of Plaintiff’s constitutional rights,

and their violations of law of the State of Georgia, have caused

Plaintiff’s injuries. Plaintiff seeks a trial by jury of 12 for

all issues so triable. Plaintiff seeks all damages available under

Federal and Georgia law, including but not limited to:

     1. Compensatory damages for medical expenses

     2. Damages for general pain and suffering, past, present and

       in the future.

     3. Damages for the violations of Plaintiff’s rights under

       the Constitution of the United States of America and

       Georgia Constitution.

     4. Such other and further relief as this Court may deem just

       and proper.


This 21st day of December, 2021.

                                 COWSERT HEATH LLP
                                 ATTORNEYS FOR PLAINTIFF

                                 By: /s/William S. Cowsert
                                     William S. Cowsert
                                     Georgia Bar No.: 192259

             [signatures continued on following page]
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                                 By: /s/Joseph D. Stephens
                                     Joseph D. Stephens
                                     Georgia Bar No.: 719383

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